JS 44C/SDNY                    Case 7:19-cv-11224-NSRCIVIL
                                                       Document   2 Filed 12/06/19 Page 1 of 2
                                                           COVER SHEET
REV. 06/01/17
                       The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other
                       papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                       United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                  DEFENDANTS
Constance Fore-Heron, individually and on behalf of all others The Price Chopper, Inc.
similarly situated
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                         ATTORNEYS (IF KNOWN)
SHEEHAN & ASSOCIATES, P.C., 505 NORTHERN BLVD
STE 311 GREAT NECK NY 11021-5101, (516) 303-0552

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                        (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 USC § 1332, Violation of Consumer Protection Laws

                                                                                                                                                        Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                        Yes 

If yes, was this case Vol.      Invol.       Dismissed. No  Yes  If yes, give date                                                      & Case No.

IS THIS AN INTERNATIONAL ARBITRATION CASE?            No               Yes   
(PLACE AN [x] IN ONE BOX ONLY)                                        NATURE OF SUIT
                                TORTS                                                                                     ACTIONS UNDER STATUTES



CONTRACT                       PERSONAL INJURY                 PERSONAL INJURY              FORFEITURE/PENALTY            BANKRUPTCY                           OTHER STATUTES
                                                               [] 367 HEALTHCARE/
                                                                                                                                                               [] 375 FALSE CLAIMS
[] 110      INSURANCE         [] 310 AIRPLANE                PHARMACEUTICAL PERSONAL      [] 625 DRUG RELATED          [] 422 APPEAL
                                                                                                                                                               [] 376 QUI TAM
[] 120      MARINE            [] 350 AIRPLANE PRODUCT        INJURY/PRODUCT LIABILITY                                           28 USC 158
                                                                                              SEIZURE OF PROPERTY
[] 130      MILLER ACT                 LIABILITY              [] 365 PERSONAL INJURY                                    [] 423 WITHDRAWAL                   [] 400 STATE
                                                                                                   21 USC 881
[] 140      NEGOTIABLE        [] 320 ASSAULT, LIBEL &                 PRODUCT LIABILITY                                         28 USC 157                           REAPPORTIONMENT
                                                                                            [] 690 OTHER
             INSTRUMENT                 SLANDER                [] 368 ASBESTOS PERSONAL                                                                       [] 410 ANTITRUST
[] 150      RECOVERY OF       [] 330 FEDERAL                          INJURY PRODUCT                                                                         [] 430 BANKS & BANKING
             OVERPAYMENT &              EMPLOYERS'                      LIABILITY           PROPERTY RIGHTS                                                    [] 450 COMMERCE
             ENFORCEMENT                LIABILITY                                                                                                              [] 460 DEPORTATION
             OF JUDGMENT       [] 340 MARINE                  PERSONAL PROPERTY            [] 820 COPYRIGHTS                                                 [] 470 RACKETEER INFLU-
[] 151      MEDICARE ACT      [] 345 MARINE PRODUCT                                       [] 830 PATENT                                                             ENCED & CORRUPT
[] 152      RECOVERY OF                LIABILITY              [] 370 OTHER FRAUD                                                                                     ORGANIZATION ACT
                                                                                            [] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
             DEFAULTED         [] 350 MOTOR VEHICLE           [] 371 TRUTH IN LENDING                                                                                (RICO)
             STUDENT LOANS     [] 355 MOTOR VEHICLE                                        [] 840 TRADEMARK                                                  [] 480 CONSUMER CREDIT
             (EXCL VETERANS)            PRODUCT LIABILITY                                                                 SOCIAL SECURITY                      [] 490 CABLE/SATELLITE TV
[] 153      RECOVERY OF       [] 360 OTHER PERSONAL
             OVERPAYMENT                INJURY                 [] 380 OTHER PERSONAL       LABOR                         [] 861   HIA (1395ff)               [] 850 SECURITIES/
             OF VETERAN'S       [] 362 PERSONAL INJURY -               PROPERTY DAMAGE                                   [] 862   BLACK LUNG (923)                   COMMODITIES/
             BENEFITS                   MED MALPRACTICE        [] 385 PROPERTY DAMAGE      [] 710 FAIR LABOR            [] 863   DIWC/DIWW (405(g))                 COMMODITIES/
[] 160      STOCKHOLDERS                                               PRODUCT LIABILITY            STANDARDS ACT        [] 864   SSID TITLE XVI
             SUITS                                                                          [] 720 LABOR/MGMT            [] 865   RSI (405(g))
[] 190      OTHER                                             PRISONER PETITIONS                    RELATIONS                                                 [] 890 OTHER STATUTORY
             CONTRACT                                          [] 463 ALIEN DETAINEE       [] 740 RAILWAY LABOR ACT                                                  ACTIONS
[] 195      CONTRACT                                          [] 510 MOTIONS TO                                         FEDERAL TAX SUITS                    [] 891 AGRICULTURAL ACTS
                                                                                            [] 751 FAMILY MEDICAL
             PRODUCT           ACTIONS UNDER STATUTES                   VACATE SENTENCE
                                                                                            LEAVE ACT (FMLA)
             LIABILITY                                                  28 USC 2255                                      [] 870    TAXES (U.S. Plaintiff or
[] 196   FRANCHISE            CIVIL RIGHTS                    [] 530 HABEAS CORPUS        [] 790 OTHER LABOR                      Defendant)                [] 893 ENVIRONMENTAL
                                                               [] 535 DEATH PENALTY                 LITIGATION          [] 871    IRS-THIRD PARTY                     MATTERS
                                                               [] 540 MANDAMUS & OTHER     [] 791 EMPL RET INC                     26 USC 7609               [] 895 FREEDOM OF
                               [] 440 OTHER CIVIL RIGHTS
                                                                                                      SECURITY ACT (ERISA)                                              INFORMATION ACT
                                       (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [] 896 ARBITRATION
                                [] 441 VOTING                                              IMMIGRATION
                                                                                                                                                               [] 899 ADMINISTRATIVE
[] 210      LAND               [] 442 EMPLOYMENT             PRISONER CIVIL RIGHTS
                                                                                                                                                                  PROCEDURE ACT/REVIEW OR
             CONDEMNATION       [] 443 HOUSING/                                          [] 462 NATURALIZATION
                                                                                                                                                                 APPEAL OF AGENCY DECISION
[] 220      FORECLOSURE                 ACCOMMODATIONS        [] 550 CIVIL RIGHTS                APPLICATION
[] 230      RENT LEASE &       [] 444 AMERICANS WITH         [] 555 PRISON CONDITION   [] 465 OTHER IMMIGRATION
                                                                                                                                                                [] 950 CONSTITUTIONALITY OF
             EJECTMENT                   DISABILITIES -        [] 560 CIVIL DETAINEE              ACTIONS
                                                                                                                                                                STATE STATUTES
[] 240      TORTS TO LAND               EMPLOYMENT                CONDITIONS OF CONFINEMENT
[] 245      TORT PRODUCT       [] 446 AMERICANS WITH
             LIABILITY                   DISABILITIES -OTHER
[] 290      ALL OTHER           [] 448 EDUCATION
             REAL PROPERTY




          Check if demanded in complaint:
                                                                        DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

         CHECK IF THIS IS A CLASS ACTION
          UNDER F.R.C.P. 23
                                                                        AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                        IF SO, STATE:

DEMAND $ 5,000,000                  OTHER                               JUDGE                                                         DOCKET NUMBER

Check YES only if demanded in complaint
JURY DEMAND:            YES  NO                                       NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                         Case 7:19-cv-11224-NSR Document 2 Filed 12/06/19 Page 2 of 2
(PLACE AN x IN ONE BOX ONLY)                                                ORIGIN
 1 Original
    Proceeding      2    Removed from
                          State Court           3    Remanded
                                                      from           4    Reinstated or
                                                                           Reopened        5      Transferred from
                                                                                                   (Specify District)     6 Multidistrict
                                                                                                                             Litigation    7             Appeal to District
                                                                                                                                                          Judge from
                                                      Appellate                                                                 (Transferred)             Magistrate Judge
                        a. all parties represented   Court

                                                                                                                          8 Multidistrict Litigation (Direct File)
                         b. At least one
                         party is pro se.

(PLACE AN x IN ONE BOX ONLY)                                      BASIS OF JURISDICTION                                            IF DIVERSITY, INDICATE
                                                                                                                                   CITIZENSHIP BELOW.
 1 U.S. PLAINTIFF        2 U.S. DEFENDANT  3               FEDERAL QUESTION             4      DIVERSITY
                                                              (U.S. NOT A PARTY)

                              CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
      (Place an [X] in one box for Plaintiff and one box for Defendant)

                              PTF DEF                                                PTF DEF                                                               PTF DEF
CITIZEN OF THIS STATE         [] 1 [] 1    CITIZEN OR SUBJECT OF A                 [] 3 [] 3      INCORPORATED and PRINCIPAL PLACE                     [] 5 [] 5
                                             FOREIGN COUNTRY                                          OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE      [] 2 [ ] 2    INCORPORATED or PRINCIPAL PLACE         [] 4 [] 4      FOREIGN NATION                                       [] 6 [] 6
                                             OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Constance Fore-Heron, 36 Aspen Ln, Woodridge, 12789-5931, Sullivan County




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
The Price Chopper, Inc., 461 Nott St, Schenectady, New York 12308-1812, Schenectady County




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                          COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:    THIS ACTION SHOULD BE ASSIGNED TO:                             WHITE PLAINS                               MANHATTAN
DATE 12/6/2019                                                                                 ADMITTED TO PRACTICE IN THIS DISTRICT
                      SIGNATURE OF ATTORNEY OF RECORD                                          [] NO
                      /s/ Spencer Sheehan                                                      [] YES   (DATE ADMITTED Mo.                 07      Yr.     2012 )
RECEIPT #                                                                                      Attorney Bar Code #  SS-2056

Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge                                                                                                        is so Designated.

Ruby J. Krajick, Clerk of Court by                                Deputy Clerk, DATED                                                 .

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
